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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI

TINA HOPKINS,                                 )
                                              )
         Plaintiff,                           )
                                              )
vs.                                           )       Case No.
                                              )
MEDICREDIT, INC.,                             )
                                              )
         Defendant.                           )

                                    NOTICE OF REMOVAL

         Defendant Medicredit, Inc. (“Medicredit” or “Defendant”) hereby files its Notice of

Removal of the above-captioned case to this Court and, and in support of removal, respectfully

states as follows:

         1.      Medicredit is named as a defendant in Civil Action No. 16BB-CC00050, filed in

the Circuit Court of Warren County, Missouri, styled Tina Hopkins v. Medicredit, Inc. (the

“State Court Action”).

         2.      The Petition in the State Court Action was filed with the Clerk of the Circuit

Court of Warren County, Missouri on or about July 14, 2016. Pursuant to 28 U.S.C. § 1446(a),

copies of all process, pleadings and orders served upon Defendant in the State Court Action are

attached hereto as Exhibit A.

         3.      In the State Court Action, Plaintiff alleges that Defendant violated a federal

statute, the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq. (“FDCPA”).

         4.      Any civil action is removable if the plaintiff could have originally brought the

action in federal court. See 28 U.S.C. § 1441(a).

         5.      Under 28 U.S.C. § 1331, this Court has original federal question jurisdiction over

Plaintiff’s FDCPA claim.


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        6.      Accordingly, pursuant to 28 U.S.C. § 1441(a), Defendant has the right to remove

the State Court Action to this Court, without regard to the citizenship or residency of the parties

or the amount in controversy.

        7.      Defendant was formally served with the Summons and Petition on August 11,

2016. This removal is therefore timely pursuant to 28 U.S.C. § 1446(b).

        8.      By this Notice of Removal, Defendant does not waive any defense, jurisdictional

or otherwise, which it may possess. Defendant also does not concede that Plaintiff has stated a

claim against it.

        WHEREFORE, in accordance with the authorities set forth above, Defendant hereby

removes this action from the Circuit Court for Warren County, Missouri, to the United States

District Court for the Eastern District of Missouri.

        DATED this 7th day of September, 2016.


                                                  Respectfully submitted,
                                                  SPENCER FANE LLP
                                              By: /s/ Patrick T. McLaughlin
                                                 Scott J. Dickenson, #50478MO
                                                 Patrick T. McLaughlin, #48633MO
                                                 1 North Brentwood Blvd., Suite 1000
                                                 St. Louis, MO 63105
                                                 (314) 863-7733 (telephone)
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                                                  Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed electronically with the United

States District Court for the Eastern District of Missouri, Eastern Division, this 7th day of

September, 2016, with a true copy mailed, first class postage prepaid, to:

       Dominic Pontello
       5988 Mid Rivers Mall Dr.
       Suite 114
       St. Charles, MO 63304

       Attorney for Plaintiff

                                                 /s/ Patrick T. McLaughlin




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